                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION
                              DOCKET NO. 3:17-cr-00134-FDW-DSC
    UNITED STATES OF AMERICA,                            )
                                                         )
    vs.                                                  )
                                                         )                          ORDER
    CYNTHIA GILMORE,                                     )
                                                         )
           Defendant.                                    )
                                                         )

          THIS MATTER is before the Court upon Defendant’s objection (Doc. No. 894) to the

Court’s continuance of trial based on Defendant’s filing of a Motion to Suppress (Doc. No. 892)

on December 4, 2017. Defendant argues the Court should not continue trial from the January 2,

2018, trial setting because the government and the Court have adequate time to hear the motion to

suppress prior to trial. To the contrary and applying the standard local rules and practices in this

District, Defendant’s motion triggers a need for a response by the Government, which – under

standard local rules – would be due December 18, 2017.1 The magistrate judge would then need

to schedule an evidentiary hearing, after which a Memorandum and Recommendation would issue.

Any objections to the M&R would require additional time for this Court to review the evidence

and parties’ positions prior to issuance of a final ruling. In addition, the Supreme Court has

explained:

          The Speedy Trial Act of 1974, 18 U.S.C. § 3161 et seq., provides that in “any case
          in which a plea of not guilty is entered, the trial ... shall commence within seventy
          days” from the later of (1) the “filing date” of the information or indictment or (2)
          the defendant's initial appearance before a judicial officer (i.e., the arraignment). §
          3161(c)(1). The Act goes on to list a set of exclusions from the 70–day period,
          including “delay resulting from any pretrial motion, from the filing of the motion

1
 The Court recognizes the magistrate judge to whom the motion has been referred entered an order expediting briefing
and already scheduled an evidentiary hearing for January 9, 2018.
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      Case 3:17-cr-00134-FDW-SCR                 Document 898            Filed 12/06/17         Page 1 of 3
       through the conclusion of the hearing on, or other prompt disposition of, such
       motion.” § 3161(h)(1)(D) (2006 ed., Supp. III) (emphasis added).
       . . . [T]he filing of a pretrial motion falls within this provision irrespective of
       whether it actually causes, or is expected to cause, delay in starting a trial.

United States v. Tinklenberg, 563 U.S. 647, 650 (2011) (emphasis added). The Supreme Court

has also held, “Congress intended subsection (F) to exclude from the Speedy Trial Act's 70-day

limitation all time between the filing of a motion and the conclusion of the hearing on that motion,

whether or not a delay in holding that hearing is ‘reasonably necessary.’” Henderson v. United

States, 476 U.S. 321, 330, 106 S. Ct. 1871, 1877, 90 L. Ed. 2d 299 (1986) (emphasis added).

       The Court recognizes Defendant’s motion to suppress was timely filed without any

intention to delay trial. Nevertheless, the Government and the Court need sufficient time to

adequately address the issues raised in Defendant’s motion. For this reason, as well as the Court’s

designation of this case as “complex” under the Speedy Trial Act, see Doc. No. 847, the Court

finds the ends of justice outweigh the interests of the public and Defendant such that this trial shall

be continued to the March 5, 2018, term. Defendant’s objection to such continuance is overruled.

       Although not articulated as a motion, Defendant’s pleading here also requests this Court

revisit her pretrial detention and order release pending trial. Other than reference to two other co-

defendants who “have their liberty while awaiting for trial,” Defendant fails to present any legally

sufficient reason to justify her request. (Doc. No. 894, p. 2). Accordingly, it is denied.

       Finally, Defendant once again challenges this Court’s ruling to vacate its previous order

severing Defendant for trial. Defendant states:

       At the prior conference, the Court stated, without any evidence, that co-defendants
       were not ready for trial due to their reliance on the government for a defense and
       that Ms. Gilmore was in a position to demand her right to a speedy trial because
       she was not dependent on the government for her defense. The Court’s conclusion
       was that Ms. Gilmore should not profit from this disparity. Ms. Gilmore was the
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   Case 3:17-cr-00134-FDW-SCR               Document 898         Filed 12/06/17      Page 2 of 3
       only one seeking severance at the time it was granted. At the prior conference, the
       government stated that it is ready for trial and not asking for a continuance, absent
       joinder. It offered no new fact to justify a reversal of the Court’s order of severance
       and trial on the November term of court.

Doc. No. 894, p. 2. To the contrary and as the Court has already explained, the Court’s original

decision to sever Defendant for trial was largely based on the fact her retained counsel indicated

he could more quickly prepare for trial. In revisiting this decision, upon the Government’s motion

(see Docs. Nos. 773, 813), the Court entered an order to unsever Defendant so as to “prevent those

without resources using appointed counsel from being treated less favorably than those with

resources to retain counsel.” (Doc. No. 847, p. 2). As the Supreme Court has recognized, “We

see no justification for treating defendants' speedy-trial claims differently based on whether their

counsel is privately retained or publicly assigned.” Vermont v. Brillon, 556 U.S. 81, 93, 129 S.

Ct. 1283, 1292, 173 L. Ed. 2d 231 (2009). Defendant’s objections – raised again here – are

overruled.

       IT IS THEREFORE ORDERED that Defendant’s “Response in Opposition . . . Oppose

Continuance” (Doc. No. 894) is OVERRULED. Any motions contained therein regarding pretrial

detention are DENIED.

       IT IS SO ORDERED.


                                        Signed: December 6, 2017




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   Case 3:17-cr-00134-FDW-SCR              Document 898            Filed 12/06/17   Page 3 of 3
